Case 2:05-cr-20167-SH|\/| Document 52 Filed 08/26/05 Page 1 of 2 Page|D 42

 

IN THE UNITED sTATEs DISTRICT COURT FlED BY..-. ..._._._o£`
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 05 RUS 25 AH 6:1,¢,
THCM`NS MGOLI.D
UNITED sTATEs oF AMERICA, G_E§£U.S.Dygmgym
WDOFTN.MENHB
VS. NO. O5-20167-Ma

RICHARD BAYNE,

Defendant.

 

ORDER SETTING CHANGE OF PLEA
AND ORDER EXCLUDING TIME

 

Before the court is defendant Richard Bayne’s August 23,
2005, unopposed motion that the report date on August 26, 2005,
be reset for a change of plea. For good cause shown, the motion
is granted and the written status report is accepted in lieu of
appearance at the report date. A change of plea is set
Wednesday, September 21, 2005, at 10:00 a.m.

The period from August 26, 2005, through September 21, 2005,
is excludable under 18 U.S.C. § 3161(h)(8)(A) as the ends of
justice served by granting defendant’s motion outweigh the best
interest of the public and the defendant in a speedy trial.

sM`d
It is so ORDERED this 1’ ay of August, 2005.

J/(//“/L`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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with Fm|e 55 and/or 32tbl FRCIP on ___§:l_ 1__§_°'

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This notice confirms a copy of the document docketed as number 52 in
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Honorable Samuel Mays
US DISTRICT COURT

